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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

AARON BRUSH,                                )
         Plaintiff,                         )
                                            )
       v.                                   )
                                            )
OLD NAVY, LLC, SCOTT GRAHAM,                )
TIMOTHY OLIVER, and the TOWN OF             )
WILLISTON,                                  )
           Defendants.                      )

                      MOTION TO EXCLUDE EXPERT TESTIMONY

       The Plaintiff, Aaron Brush, by and through counsel, hereby moves to exclude testimony

by John Ryan, an expert witness proffered by Defendants Scott Graham, Timothy Oliver, and the

Town of Williston (collectively the “Municipal Defendants”). In support of the Motion, Plaintiff

submits the following Memorandum of Law.

                                      MEMORANDUM

       The Municipal Defendants have disclosed former police captain John Ryan to offer

expert opinion testimony concerning the actions of Defendants Graham and Oliver during their

November 28, 2019 encounter with Mr. Brush. In addition, Mr. Ryan proposes to testify to the

adequacy of the supervision and training the Town provided to the police officers it employed.

A copy of Mr. Ryan’s expert report is attached hereto as Exhibit 1. See Exhibit 1, Municipal

Defendants’ Joint F.R.C.P. 26(a)(2) Expert Disclosure (Expert Report of John Ryan attached as

Exhibit A thereto).

       Mr. Ryan’s opinions are set forth beginning on page 19 of his Report. He proposes to

offer the following testimony:

   •   “[T]he decision[] … to … detain … Mr. Brush was consistent with generally accepted
       policies, practices, training, and legal mandates trained to officers…” Exhibit 1, Ryan
       Report at ¶ 37 (emphasis added).

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   •   “Based on generally accepted policies, practices, training, and legal mandates trained to
       officers… a reasonable and well-trained officer would conclude that the brief detention of
       Mr. Brush… was a temporary investigative detention.” Exhibit 1, Ryan Report at ¶ 41
       (emphasis added).

   •   “Here, based on the reports of the dispatcher a reasonable and well-trained officer would
       conclude that a stop was consistent with industry standard based on suspicion of
       shoplifting, danger to the public, and/or the community caretaking function….” Id.

   •   “Based on this totality of circumstances a reasonable and well-trained officer would
       recognize that a stop of Brush … would be consistent with generally accepted policies,
       practices, training, industry standard, and the legal mandates trained to officers….”
       Exhibit 1, Ryan Report at ¶ 42 (emphasis added).

   •   “Officers throughout the United States are trained that there is no set time limit on a
       temporary investigative detention but rather, they must act diligently to confirm or dispel
       their suspicions. There is nothing in the materials provided to date that would suggest
       that the officers were not acting diligently.” Exhibit 1, Ryan Report at ¶ 46.

This list is not exhaustive. The large majority of Mr. Ryan’s opinions represent either statements

as to what the law provides or conclusions as to ultimate facts that are the province of the jury.

“In the Second Circuit it is well-established that an expert witness may not provide testimony

that constitutes legal conclusions.” Gade v. State Farm Mut. Auto. Ins. Co., No. 5:14-cv-00048,

2015 U.S. Dist. LEXIS 156474 at *41 (D. Vt. Nov. 19, 2015) (citing Densberger v. United

Techs. Corp., 297 F.3d 66, 74 (2d Cir. 2002)); see also Browne v. CTC Corp., No. 2:15-cv-267,

2017 U.S. Dist. LEXIS 197717 at *6 (D. Vt. Dec. 1, 2017) (same). “[E]xpert testimony that

states a legal conclusion or communicates a legal standard – explicit or implicit – to the jury is

inadmissible.” McLaughlin v. Langrock Sperry & Wool, LLP, No. 2:19-cv-00112, 2020 U.S.

Dist. LEXIS 103404 at *23 (D. Vt. June 12, 2020) (quoting Hygh v. Jacobs, 961 F.2d 359, 364

(2d Cir. 1992)) (internal quotation marks and bracketing omitted); see also Hiramoto v. Goddard

College Corp., 184 F. Supp. 3d 84, 97 (D. Vt. 2016) (quoting United States v. Bilzerian, 926

F.2d 1285, 1294 (2d Cir. 1991)) (“Although an expert may opine on an issue of fact within the



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jury’s province, he may not give testimony stating ultimate legal conclusions based on those

facts.”).

        Mr. Ryan repeatedly opines that the Municipal Defendants’ actions were “consistent with

legal mandates,” which is simply another way of saying that their conduct did not violate clearly

established constitutional law. Mr. Ryan seeks to bolster his proposed testimony by citations to

an array of outdated policing manuals:

    •   Law Officer’s Pocket Manual, § 2.1.1, Bloomberg BNA (2016). Exhibit 1, Ryan Report
        at 20, n. 1.

    •   Miles, Richardson, Scudellari, The Law Enforcement Officer’s Pocket Manual § 2.8; §
        2.14 (BNA 2008). Exhibit 1, Ryan Report at 21, n.2 and n.3; id. at 23 n.5.

    •   Ryan, Quick Reference Legal Guide for Law Enforcement at 10 (PATC Books 2009).
        See id.

    •   Hanley, Schmidt, Robbins, Introduction to Criminal Evidence and Court Proceedings at
        149 (McCutchen Publ. 1987). Exhibit 1, Ryan Report at 22, n. 4.

    •   Beebe, Arkansas Law Enforcement Pocket Manual at 29 (2d ed. 2004). Exhibit 1, Ryan
        Report at 22, n.4.

    •   Samaha, Criminal Procedure at 222-23 (5th ed. Wadsworth/Thompson Learning at 2002).
        Exhibit 1, Ryan Report at 24, n.6.

While none of these materials are readily available on short notice, it is safe to say that the cited

hornbooks are not primary legal sources and that they are neither authoritative nor current. Yet

Mr. Ryan proposes to rely on these sources to instruct the Court and the jury what the law

provides. Any such testimony is plainly inadmissible and should be excluded.

        Apart from proposing to expressly instruct the Court as to what “legal mandates” may

provide, Mr. Ryan repeatedly opines that the Municipal Defendants’ actions were consistent with

“generally accepted policies, practices, [and] training….” Exhibit 1, Ryan Report at ¶¶ 37, 41,

42, 50. In order to garner general acceptance, a law enforcement policy or practice must be


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consistent with the law. This is just a roundabout way of saying that the Municipal Defendants’

actions were taken in conformity with the law. Under Monell v. Department of Social Services,

the question of whether the Town’s policies, practices (and training) were lawful is the ultimate

question for the trier of fact. See Monell v. Dept. of Social Svcs., 436 U.S. 658, 690 (1978)

(“Local governing bodies… can be sued directly under § 1983… where …. the action that is

alleged to be unconstitutional implements or executes a policy statement, ordinance, regulation,

or decision officially adopted and promulgated by that body’s officers.”). Mr. Brush has brought

a Monell claim against the Town. Therefore, the proposed testimony invades the province of the

jury and should be excluded.

       “Each courtroom comes equipped with a ‘legal expert,’ called a judge, and it is his or her

province alone to instruct the jury on the relevant legal standards.” Burkhart v. Washington

Metro. Area Transit Auth., 112 F.3d 1207, 1213 (D.D.C. 1997). No matter how knowledgeable

an expert witness may be, that witness may neither testify to matters that are within the judge’s

purview nor to the ultimate conclusions that are left to the jury, as Mr. Ryan proposes to do here.

The Court should therefore exclude his testimony in its entirety.

       Undersigned counsel hereby certifies, pursuant to Local Rule 7(a)(7), that he made a

good faith attempt to obtain the opposing party’s agreement to the requested relief. Counsel for

the Defendant Graham and the Town have both indicated that they do not agree to the exclusion

of their proffered expert’s testimony. Attempts to confer with counsel for Defendant Oliver and

Old Navy did not garner a response.

       Wherefore, the Plaintiff, Aaron Brush, respectfully requests that the Court grant his

Motion to Exclude Expert Testimony of John Ryan.




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Dated at Burlington, Vermont the 10th day of February, 2022.

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